EXHIBIT 1

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cARMaX: RETAIL INSTALLMENT CONTRACT

 

 

 

 

 

 

 

 

ae In this Contract, the words “you” and “your” mean anyone signing this Contract as a Buyer or
. Co-Buyer. The words “we”, “us”, and “our” mean the Seller or anyone to whom the Seller
Consumer Credit Sale transfers its rights under this Contract. You understand that you may buy the Vehicle described
below for cash or credit. By signing this Contract, you choose to buy the Vehicle on credit
Contract Number | — a —— under the tems and conditions on all pages of this Contract. If there is a Buyer and a Co-
Contract Date 07/26/2017 Buyer, you are each individually liable to us for any amount due under this Contract.
Seller CarMax Auto Superstores West Coast, Inc 21317 HIGHWAY 99 LYNNWOOD, WA 98036
Name Zip Code
Buyer NICHOLAS CLIFTON BARNARD (el
Name Address Zip Code
Co-Buyer
Name Address Zip Coda
ANNUAL FINANCE Amount Financed | Total of Payments Total Sale Price
PERCENTAGE CHARGE The amount of credit The amount you will have The total cost of your
The dollar amount the provided to you or on paid after you have made purchase on credit,
RATE vite ill cost M your behalf. all payments as scheduled. including your
The cost of your creditas J CTeCh wi! cost you, downpayment of
a yearly rate.
$ 0.00.
15.02% | $ 10,301.80  $ 19,337.00 | $ 29,638.80 $__29,638.80_
e* et e

 

 

 

 

 

 

 

 

means an estimate
Amount of When are Due

411,65 09/09/2017

 

 

Security. You are giving a security interest in the motor vehicle | Prepayment. If you pay off the full amount owed under this Contract
being purchased. early, you will not have to pay a penalty.

Late Charge. If payment is not received in full within 10 days after it | Additional Information. See the remainder of this Contract for
is due, you will pay a late charge that is the lesser of $15 or 5% of | additional information about nonpayment, default, any required
the unpaid amount of the installment. repayment in full before the scheduled due date, prepayment refunds,
and securily interests.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Optional GAP Waiver Agreement (GAP contract). A ITEMIZATION OF AMOUNT FINANCED
GAP contract is a debt cancellation agreement. It is not A. CASH PRICE
required to obtain credit and will not be provided unless 1. Cash Price of Vehicle 13,998.00
you sign below and agree to pay the extra charge. The 5 5
charge for a GAP contract is in item £.1. Your GAP 2 pas rice of CarMax Ae cessores ee
contract is a part of this Contract. See your GAP contract a SBNEL minis rative Fee 5
for details on the protection it provides. 4. Sales / Excise Tax $ 1,736.75
5. Tire Fee* $ 0.00
Term 72 ___ (in months) 6. Other: N/A $ 0.00
| want the option: fontract. Bi 7._ Total Cash Price [1 through 6] $ 16,085.25
Buyer Signs: B. DOWNPAYMENT
1. Cash Downpayment $ 0.00
You agree to buy and we agree to self you the following 2. Manufacturer's Rebate $ 0.00
Vehicle: 3. Credit From “Trade-in” Sold to CarMax
Year/Make/Model 2013/FORD/C-MAX a. Vaiue of “Trade-in” 5 0.00
VIN 1FADP5CU7DL531019 b. Proceeds from "Trade-In" Retained by Buyer $ 0.00
New N/A Used x c. Pay-Off of “Trade-In” 3 0.00
The primary purpose and use for which you are purchasing d. Net Value of “Trade-in” [a minus b minus c, if negative, 5 0.00
the Vehicle is: enter "0" and see line E.3. below]
Personal, Family, or Household __% 4. Other: N/A 0.00
Business N/A Agricultural N/A _ 5. Total Downpayment [1 through 4] $ 0.00
As part of this transaction, you sold the following vehicle(s) C. UNPAID BALANCE OF CASH PRICE [A minus B] 416,085.25
to Seller as a ‘Trade-In’. D. PUBLIC OFFICIAL FEES
Year/Make/Model N/A 1._ Title Fee 23.00
VIN N/A 2. N/A 0.00
Year/Make/Model N/A 3. Registration Fee 58.75
VIN N/A 4. Local Transportation Benefit District Fee q 80.00
5. N/A 4 0.00
YOUR PROMISE TO PAY 6. Regional Transit Authority Fee 342.00
You agree to pay us the Amount Financed and Finance 7. Plate Fees 24.00
Charge provided for in this Contract according to the 8. NIA 0.00
Payment Schedule above. This is a simple finance charge 9 NIA 0.00
contract, This means we will figure the Finance Charge on : - -
a daily basis at the Annual Percentage Rate on the unpaid 10. Total of Public Official Fees [1 through 9] D 527.75
part of the Amount Financed. The Finance Charge, Total E. OTHER CHARGES INCLUDING AMOUNTS PAID TO
of Payments, and Total Sale Price shown above are based OTHERS ON YOUR BEHALF
on the assumption that you will make every payment on the 1. Optional GAP Waiver Agreement $ 795.00
day itis due. Your Finance Charge, Total of Payments, 2. To Consumer Program Administrators, inc. *
and Total Sale Price will be more if you pay late and less if . 7 7 —_
you pay early. Also, if you pay late it is likely that your final for Optionai Extended Service Contract $ 1,929.00
payment will be larger than originally scheduled. You must 3. To N/A .
make your payments to the Seller at the address shown for Pay-Off of the “Trade-In” where Pay-Off exceeds vatue
above. If this Contract is transferred, you agree to make of “Trade-in” [B(3)(c) minus B(3)(a)] $ 0.00
your payments to the subsequent holder of this Contract 4. Total of Other Charges and Amounts Paid to Others on
(Assignee) at the address provided by the Assignee or Your Behalf {1 through 3] $ 2,724.00
Seller. F. AMOUNT FINANCED [C plus D plus E] $19,337.00
*Seller may retain a portion of this amount.
This Contract has 4 pages, plus any optional GAP Waiver Agreement. This is Page 1. By initialing below you
represent that ee and agree to all provisions on all pages.
Buyer's initials __ LL, Co-Buyer's Initials
t

 

 

 

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RETAIL INSTALLMENT CONTRACT

 

Other Important Agreements

Your Representations. You promise that you have given true and
correct information in your credit application. You understand that in
entering this Contract we have relied on the representations you have
made to us. Upon request, you agree to provide us with documents and
other information necessary to verify any item contained in your credit
application.

Applicable Law. Federal law and the iaw of the State of Washington
apply to this Contract. If any provision is not valid, all others stay valid to
the extent allowed by applicable law.

Late Charge. You will pay a late charge as described in the Late Charge
section on Paga 1 of this Contract.

Returned Check Charge. If a check, draft, or order presented to us for
payment or any electronic payment you make is returned unpaid, you will
pay a service charge of $40.00.

Care, Use, and Location of the Vehicle. You agree to pay us all you
owe under this Contract even if the Vehicle is damaged, destroyed, or
missing. You agree to keep the Vehicle in good condition and repair. If
there is any toss or damage to the Vehicle, you will givé us prompt written
notice of the loss or damage. You agree not to use the Vehicle for hire or
to sell, rent, lease, or transfer any interest in the Vehicle or this Contract.
You agree that you will not permit the Vehicle to be used in any illegal
manner or expose the Vehicle to misuse, seizure, confiscation, of
involuntary transfer. The Vehicle wil be kept at the address you provided
to us in this Contract as shown on Page 1. You agree to notify us in
writing of any change in your address or the location at which the Vehicle
is regularly located. You are not allowed to remove the Vehicle from the
United States. You may, however, take the Vehicle to Canada as long as
it is for a period of 30 days or less.

Insurance Requirements. You agree to have physical damage
insurance covering joss or damage to the Vehicle as long as amounts are
owed under this Contract. The insurance must have comprehensive,
Collision, fire, and theft coverage in amounts acceptable to us and with
the minimum available deductible. All required insurance must be with a
properly licensed insurer reasonably acceptable to us and must name us
as an additional insured and loss-payee. You agree to give us evidence
of all required insurance promptly upon request. You agree that any
insurance proceeds payable due to damage or loss of the Vehicle will be
paid directly and solely to us. At our choice, we may use the insurance
proceeds to repair the Vehicle or to pay amounts owed under this
Contract. You agree that we may settle any insurance claim or sign any
insurance checks on your behalf as necessary and if allowed by law.
WARNING: UNLESS YOU PROVIDE US WITH EVIDENCE
OF THE INSURANCE COVERAGE AS REQUIRED BY THIS
CONTRACT, WE MAY PURCHASE INSURANCE AT YOUR
EXPENSE TO PROTECT OUR INTEREST. THIS
INSURANCE MAY, BUT NEED NOT, ALSO PROTECT
YOUR INTEREST. [IF THE COLLATERAL BECOMES
DAMAGED, THE COVERAGE WE PURCHASE MAY NOT
PAY ANY CLAIM YOU MAKE OR ANY CLAIM MADE
AGAINST YOU. YOU MAY LATER CANCEL THIS
COVERAGE BY PROVIDING EVIDENCE THAT YOU HAVE
OBTAINED PROPER COVERAGE ELSEWHERE. YOU ARE
RESPONSIBLE FOR THE COST OF ANY INSURANCE
PURCHASED BY US. THE COST OF THIS INSURANCE
MAY BE ADDED TO YOUR ACCOUNT BALANCE. IF THE
COST IS ADDED TO THE ACCOUNT BALANCE, THE
ANNUAL PERCENTAGE RATE SHOWN ON PAGE 1 OF
THIS CONTRACT WILL APPLY TO THIS ADDED AMOUNT.
THE EFFECTIVE DATE OF COVERAGE MAY BE THE DATE
YOUR PRIOR COVERAGE LAPSED OR THE DATE YOU
FAILED TO PROVIDE PROOF OF COVERAGE. THE
COVERAGE WE PURCHASE MAY BE CONSIDERABLY
MORE EXPENSIVE THAN INSURANCE YOU CAN OBTAIN
ON YOUR OWN AND MAY NOT SATISFY WASHINGTON’S
MANDATORY LIABILITY INSURANCE LAWS.

Security Interest. You give us a security interest in the Vehicle, any
proceeds received for the Vehicle, and any accessories, equipment, and
replacement parts installed on the Vehicle, You also give us a security
interest in any insurance, service, or other contracts we finance for you
and ali proceeds from any insurance, service, or other contracts on the
Vehicle, including refunds of premiums or charges from the contracts we
finance for you. The security interest you are giving us secures all
amounts owed by you under this Contract and all the other agreements
you have made in this Contract.

Optional Service or GAP Contracts. This Contract may contain
charges for an optional service or GAP contract. If you are in default
under this Contract, you agree that we may claim benefits under any
optional contract or cancel it to obtain a refund for unearned charges and
reduce amounts you owe. If you cancel an optional contract, you
authorize us to receive any refund for unearned charges and apply it to
what you owe under this Contract.

“Trade-In” and Downpayment. You promise that you own and have
valid title to any vehicle you sold to us as a “Trade-In.” You represent
that any “Trade-in” vehicle is free from any lien or security interest except
as you have disclosed to us in writing. You promise that you have made
the downpayment shown in the ltemization of Amount Financed an Page
1 of this Contract and that you have not borrowed it.

Title, Taxes, and Other Charges. You agree to make sure that the tite
to the Vehicle shows our security interest. You also agree that we will be
the only party with a security interest in the Vehicie and that our security
interest will be the only security interest that appears on the title. You
agree that you are, or will be, the registered owner of the Vehicle and that
you will comply with all registration, licensing, tax, and title laws that apply
to the Vehicle. You agree to pay when due all taxes, fees, repair bills,
storage bills, fines, assessments, and other charges relating to the
Vehicle. At our choice, we may pay any of these items to protect our
interest in the Vehicle. If we do so and if allowed by law, you agree to
repay us at our request.

Default and Required Repayment in Full. You will be in default if you
fail to make any payment required by this Contract. You will also be in
default if you break any other promise you have made in this Contract or
if a bankruptcy or insolvency proceeding is initiated by you or against
you. If you default we may require that you pay all you owe on this
Contract at once. All amounts owed following your default will continue to
accrue finance charge or interest at the Annual Percentage Rate shown
on Page 1 of this Contract or the highest rate allowed by law until paid in
full.

Other Remedies Upon Default. Upon your default we may take
(repossess) the Vehicle from you as long as we do so peacefully. All
accessories, equipment or replacement parts will remain with the Vehicle
foliowing repossession.

Getting the Vehicle and Property Back After Repossession. If we
repossess the Vehicle, you have the right to get it back unti! we sell it.
This is your right to redeem. We will tell you what you need to do or how
much you need to pay to redeem the Vehicle. If any personal property is
in the Vehicle, we will store it for you at your expense. If you do not pick
up your personal property, we will dispose of it as the law allows.

Sale of tha Repossessed Vehicle. We will send you a written notice of
sale before we sell the Vehicle. We will apply money from a sale to our
expenses and then to amounts you owe under this Contract. Our
expenses may include costs incurred by us in repossessing the Vehicle,
holding and storing it, preparing it for sale, and selling it. if there is
money left over, we will pay it to you unless we are required to pay it to
someone else. If there is not enough money to pay all you owe, you will
have to pay us the remaining balance.

Collection Costs. You agree to pay our reasonable attorney's fees, pius
court costs, if we refer this Contract for collection or enforcement to an
attorney who is not our salaried employee.

Application of Payments and Partial Prepayments. We may apply
each payment to earned and unpaid finance charge and to other amounts
you owe under this Contract in any order we choose. If you make a
partial prepayment you must still continue to make your regular monthly
payments as scheduled in this Contract.

Delay in Enforcing Rights. We will not lose any of our rights under this
Contract if we delay or tefrain from enforcing them. for example, we
may extend the time for making some payments without extending
others. Our acceptance of any late or partial payment does not excuse
your late or partial payment or mean that you may continue to make late
or partial payments.

Communications. You agree that we may monitor and record telephone
calls regarding this Contract. You expressly consent that we may contact
you (by calls, emaiis, text messages or other electronic messages) for
any purpose related to this Contract by any means, including but not
limited to the use of prerecorded/artificial voice messages or automatic
telephone dialing devices. Your express consent applies to any email
addresses or telephone numbers we obtain or you provide in any manner
and at any time, including emails addresses or cellular telephone
numbers for which you may incur voice, data or other charges.

 

 

”

This Contract has 4 pages, plus any optional GAP Waiver Agreement. This is Page 2. By initialing below you

represent eee agree to all provisions on all pages.
Buyer's Initials Co-Buyer’s Initials
&

 

 

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RETAIL INSTALLMENT CONTRACT
Other Important Agreements

 

ARBITRATION PROVISION

This Arbitration Provision describes when and how a Claim (defined befow} shall be arbitrated. Arbitration is a way of resolving disputes before one or
more neutral persons, instead of having a trial in court before a judge and/or jury. By signing this Contract, you and we agree to be bound by the
terms of this Arbitration Provision.

For purposes of this Arbitration Provision, references to “we,” “us” and “our” mean the Seller, including its respective subsidiaries, affiliates, agents,
employees and officers, or anyone to whom the Seiler transfers its rights under the Contract.
iF YOU OR WE CHOOSE ARBITRATION, THEN ARBITRATION SHALL BE MANDATORY, AND:

»« ANY CLAIM WILL BE DECIDED BY ARBITRATION AND NOT IN COURT OR BY A JURY TRIAL.

* DISCOVERY AND RIGHTS TO APPEAL ARE LIMITED BY THE ARBITRATION RULES OF THE ARBITRATION ADMINISTRATOR,

« YOU GIVE UP YOUR RIGHT TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF A CLASS IN A CLASS ACTION (“CLASS
ACTION WAIVER”).

«© OTHER RIGHTS THAT YOU OR WE WOULD HAVE iN COURT MAY NOT BE AVAILABLE IN ARBITRATION,

a. What Claims are Covered. A “Claim” is any claim, dispute or controversy between you and us that in any way arises from or relates to this
consumer credit sale, the purchase you are financing by way of this Contract, the Vehicle and related goods and services that are the subject of the
purchase and this Contract, or the collection or servicing of this Contract, including but not limited to:

+ Initial claims, counterclaims, cross-claims and third-party claims;

+ Disputes based on contract, tort, consumer rights, fraud and other intentional torts (at law or in equity, including any claim for injunctive or
declaratory relief);

* Disputes based on constitutional grounds or on laws, regulations, ordinances or similar provisions; and

* Disputes about the validity, enforceability, arbitrability or scope of this Arbitration Provision or this Contract, subject to paragraph (f) of this
Arbitration Provision.

b. Commencing Arbitration, Either you or we may require any Claim to be arbitrated by first sending to the other party, by certified mail, a written
notice of dispute (“Notice”). This Notice shail (1) describe the nature and basis of the Claim and (2) set forth the specific relief sought. If we do not
reach an agreement to resolve the Claim within 30 days after the Notice is received, you or we may commence an arbitration proceeding.

Arbitration of a Claim must comply with this Arbitration Provision and the applicable rules and procedures of the arbitration Administrator. Arbitration is
not mandatory for an individual Claim that you or we may choose to bring in small claims court or the state’s equivalent court, if any. If that Claim is
transferred, removed or appealed to a different court, you or we then may choose arbitration.

c. Choosing the Administrator. If you initiate the arbitration proceedina. vou mav choose either of the following arbitration Administrators: (1)
American Arbitration Association. 120 Broadwav. New York, NY 10274, 41920 Main Street, Suite 300, Irvine,
CA 92614, The Administrator you choose will have rules that apply to the proceeding. Important information
regarding the arbitration process and more complete information regarding arbitration precedures may be found at either Administrator's website. If the
Administrator you choose is unable or unwilling or ceases to serve as the Administrator, you or we may choose the other Administrator. If both
Administrators are unable or unwilling or cease to serve as the Administrator, you or we may choose another Administrator, subject to the other's
approval. In all cases, any arbitrator must be a lawyer or a retired judge with at least 10 years of legal experience. If we initiate the arbitration
proceeding, we will give you 20 days to choose the Administrator. If you do not choose the Administrator within that time, we will choose one for you.
No matter which Administrator is chosen, you shail have the right to be rapresented by an attorney of your own choosing, subject to any limitations in
the Administrator's rules.

d. Cheosing the Location. Any arbitration hearing that you attend must take place at a location reasonably convenient to your residence.

e. Paying for Arbitration. Each Administrator charges fees to administer an arbitration proceeding. This may include fees not charged by a court.
When you choose an Administrator, you should carefully review the fees charged by the Administrator. The fees and costs of any arbitration, including
any initial filing fees, shall be paid in accordance with the rules and procedures of the Administrator. Each party must pay the expense of that party's
attorneys, experts, and witnesses, regardless of which party prevails in the arbitration, unless applicable law or the Administrators rules, procedures or
standards provide otherwise.

f, Class Action Waiver. You give up your right to particlpate in a class action. This means that you may not be a representative or member
of any class of claimants or act as a private attorney general in court or in arbitration with respect to any Clalm. Further, uniess both you and
we agree otherwise, the arbitrator may not consolidate more than one person’s Claim or Claims. Notwithstanding any other part of this Arbitration
Provision, the validity and effect of the Class Action Waiver must be determined only by a court and not by an arbitrator, If a court limits or voids the
Class Action Waiver, then this entire Arbitration Provision (except for this paragraph) will be null and void.

g. Right to Discovery. The parties shall have the right to discovery of non-privileged information and documents relevant to the Claim, subject to the
rules and procedures of the Administrator.

h. Arbitration Result and Right of Appeal. Judgment upon the award given by the arbitrator may be entered in any court having jurisdiction. In
response to a timely request from either party, the arbitrator must provide a brief written explanation of the basis for any award. The arbitrator's
decision is final and binding, except for any right of appeal provided by the Federai Arbitration Act. Any party can appeal the award to a three-arbitrator
panel administered by the Administrator, which must reconsider any aspect of the initial award requested by the appealing party. Reference in this
Arbitration Provision to the “arbitrator” means the panel of arbitrators if an appeal of the arbitrator's decision has been taken. Sudject to applicable law,
costs of such an appeal will be borne by the appealing party regardless of the outcome of the appeal, unless applicable law or the Administrator's rules
provide otherwise. However, we will consider any good faith, reasonable request for us to pay all or any part of those fees if you are the appealing
party.

i. Governing Law. This Arbitration Provision is governed by the Federal Arbitration Act and not by any state arbitration law. The arbitrator must apply
applicable statutes of limitations and claims of privilege recognized at law, and applicable substantive law consistent with the Federal Arbitration Act.
The arbitrator is authorized to award all individual remedies permitted by the substantive law that would apply if the action were pending in court.

j. Rules of Interpretation. This Arbitration Provision survives the repayment of all amounts owed to us, the transfer of the Contract, and any
bankruptcy by you, to the extent not inconsistent with applicable bankruptcy law. Except as provided in paragraph (f), if any part of this Arbitration
Provision is determined to be invalid or unenforceable, this Arbitration Provision and the Contract will remain enforceable. In the event of a conflict or
inconsistency between this Arbitration Provision and the applicable arbitration rules or the other provisions of this Contract or any other contract
between you and us, this Arbitration Provision will govern.

 

This Contract has 4 pages, plus any optional GAP Waiver Agreement. This is Page 3. By Initialing below you
represent that you OO agree to all provisions on all pages.
Buyer's Initials Co-Buyer's Initials

 

 

 

 

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RETAIL INSTALLMENT CONTRACT
Other Important Agreements

NO LIABILITY INSURANCE INCLUDED

LIABILITY INSURANCE COVERAGE FOR BODILY INJURY AND PROPERTY DAMAGE CAUSED TO
OTHERS IS NOT INCLUDED IN THIS CONTRACT.

 

 

 

 

 

 

PROPERTY INSURANCE: YOU ARE REQUIRED TO OBTAIN AND MAINTAIN INSURANCE ON THE VEHICLE,
ENDORSED TO PROTECT US AS LOSS-PAYEE. YOU MAY OBTAIN THE INSURANCE FROM ANY AGENT OR
INSURANCE COMPANY YOU CHOOSE REASONABLY ACCEPTABLE TO US.

YOUR INSURANCE INFORMATION

LIENHGLDER/LOSS-PAYEE_Santander Consumer USA INSURED'S NAME_NICHOLAS CLIFTON BARNARD

 

PHYSICAL DAMAGE DEDUCTIBLES — COMPREHENSIVE $ 500.00 COLLISION $ 500.00
INSURANCE COMPANY _GEICO
POLICY NUMBER . EFFECTIVE DATE _07/26/2017 EXPIRATION DATE _07/26/2018

INSURANCE AGENT NAME GEICO TELEPHONE NUMBER

You agree that you have or will obtain the required insurance coverage as shown above and you acknowledge that this is
required by the Insurance Requirements section on Page 2 of this Contract.

 

USED CAR BUYERS GUIDE. THE INFORMATION YOU SEE ON THE WINDOW FORM FOR THIS VEHICLE IS PART OF
THIS CONTRACT. INFORMATION ON THE WINDOW FORM OVERRIDES ANY CONTRARY PROVISIONS IN THE
CONTRACT OF SALE.

SPANISH TRANSLATION: GUIA PARA COMPRADORES DE VEHICULOS USADOS. LA INFORMACION QUE VE EN EL
FORMULARIO DE LA VENTANILLA PARA ESTE VEHICULO FORMA PARTE DEL PRESENTE CONTRATO. LA
INFORMACION DEL FORMULARIO DE LA VENTANILLA DEJA SIN EFECTO TODA DISPOSICION EN CONTRARIO
CONTENIDA EN EL CONTRATO DE VENTA.

 

The following notice applies only to purchases primarily for personal, family, or household purposes.
NOTICE

ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH THE
DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR
WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID
BY THE DEBTOR HEREUNDER.

 

VEHICLE RETURN POLICY

You may return the Vehicle to CarMax for a refund within 5 calendar days if the condition of the Vehicle does not change. This
policy only applies to used vehicles.

 

ENTIRE AGREEMENT

This Contract contains the entire agreement between you and us relating to this Contract. We may agree to extend or defer a
payment and provide you written confirmation. Any other change to this Contract must be in a writing signed by us. No oral
modifications to this Contract are binding.

Motor Vehicle Department Disclosure Authorization
You authorize us to obtain information about you, or the vehicle you are buying, from the state motor vehicle department or
other motor vehicle registration authorities.

 

 

NOTICE TO FHE BUYER: (a) Do not sign this Contract This Contract has 4 pages, plus any optional GAP
before you read It or if any spaces Intended for the Waiver Agreement. This is Page 4. By signing below
agreed terms, except as to unavailable information, are you represent that you have read and agree to all
blank. (b) You are entitled toa copy of this Contract at provisions on all pages, including the Arbitration

the time you sign it. (c) You may at any time pay off the | provision on Page 3 of this Contract, You are also

full unpaid balance due under this contract, and in so confirming that you have received a completely filled-in

doing you may receive a partial rebate of the finance of this Contract signed by the Seller.
charge. (d) The finance charge does not exceed copy $ G0) an yene

15.02% (must be filled in) per annum computed
monthly. 2 LE

Seller uperstores West Coast, Inc, aa  Blyer's Signature LEP LELEIEE__-

o-Buyer’s Signature

 

  

 

  
 

ASSIGNMENT
Seller hereby sells, assigns and transfers to Santander Consumer USA (Assignee) this Contract, all
obligations of Buyer and Co-Buyer hereunder, ail rights, powers, and privileges herein givan to Seller, and aff right, title, and interest of Seller in and to the

property securing thi tract. If on the date of this assignment there is in effett'a Dealer Agreement between Seller and Assignee pertaining to the sale of
contracts to Assig “Li, the sale and assignment of this Contract to Assignee is made subject to ail the terms and conditions of that Dealer

Agreement. . . 3
Seller/Assignor YL Aatbs he Stripped blat
Date 7/26/2017 Title bet

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EXHIBIT 2

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Collateral Management Services
9750 Goethe Road | Sacramento, CA 95827

 

   

tander Consu

Lien and Title Information

 

 

ELT Lien ID
Lienholder Santander Consumer USA

Lienholder Address PO Box 961288
Ft Worth, TX 76161

Lien Release Date

 

 

VIN 1FADP5CU7DL531019 Issuance Date 8/26/2017
Title Number Received Date 8/26/2017
Title State WA ELT/Paper ELECTRONIC
Year 2013 Odometer Reading

Make FORD Branding

Model C-M

Owner 1 BARNARD,NICHOLAS CLIFTON

Owner 2

 

Printed: Tuesday, July 28, 2020 9:27:10 AM PST

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